Case 1:05-cr-10034-.]DT Document 18 Filed 06/08/05 Page 1 of 3 Pa%e|D 21
WESTERN Dl TRICT OFTN

IN THE UNITED STATES DISTRICT coURT FOR THE wEsTERN DISTRICT
oF TENNESSEE, EASTERN DIVISJE:H_ED IN OPEN COURT:
DATE:

T¢ME: ___`-".L$L_Q_m_-
1N1T1ALS: _£____

NO. 05~10034T

 

UNITED STATES OF AMERICA

VS:

LEAMON MATLOCK

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ORDER SUBSTITUTING COUNSEL

The defendant, Leamon Matlock, moves this Court for
permission to substitute as counsel, Lloyd R. Tatum, in this
cause, in the place and stead of the Federal Public Defender
in the proceedings presently pending before this Court; and
it appears to the Court that said motion should be granted;

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that
Lloyd R. 'l‘atum, be, and is hereby substituted as attorney
for plaintiff in this cause in the place and stead of the

Federal Public Defender in the proceedings presently pending

before this Court. Enter this g d day of% ,

%A\ ZVM

y JUDGE

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APPROVED OR ENTRY:

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Asst. Atty.

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Asst. Fed. Public Defender

v@fj HM7

Lloyd R. Ta tum

 

 

 

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This notice confirms a copy of the document docketed as number 18 in
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Honorable J ames Todd
US DISTRICT COURT

